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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,             )
                                      )
             Plaintiff,               )
                                      )
v.                                    )        Cr. No. 17-cr-10004-11-STA
                                      )
JOSEPH LEE,                           )
                                      )
             Defendant.               )


                          ORDER AND NOTICE OF RESETTING



      The parties have moved this Court to continue the change of plea hearing in the

above matter.

      Wherefore, for good cause, the change of plea hearing is reset to January 25,

2018, at 3:00 p.m.

      IT IS SO ORDERED this 23rd day of January, 2018.




                                          s/ S. Thomas Anderson
                                          S. THOMAS ANDERSON
                                          CHIEF UNITED STATES DISTRICT JUDGE
